
USCA1 Opinion

	










          October 31, 1995  UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                                     
                                 ____________________

        No. 94-1554

                               YVONNE A. ALEXIS, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                    McDONALD'S RESTAURANTS OF MASSACHUSETTS, INC.,
                          MICHAEL LEPORATI and DONNA DOMINA,

                                Defendants, Appellees.

                                                     
                                 ____________________


                                     ERRATA SHEET


             The Opinion of the Court  issued on October 10, 1995,  is amended
             as follows:

             On  cover sheet under list of counsel "Gilbert, Kurent &amp; Kiernan"
                                                    _______
             should read "Gilberg, Kurent, &amp; Kiernan."
                          _______











































                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                                     
                                 ____________________

        No. 94-1554

                               YVONNE A. ALEXIS, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                    McDONALD'S RESTAURANTS OF MASSACHUSETTS, INC.,
                          MICHAEL LEPORATI and DONNA DOMINA,

                                Defendants, Appellees.

                                                     
                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                                                     
                                 ____________________


                                        Before

                                Selya, Circuit Judge,
                                       _____________

                            Bownes, Senior Circuit Judge,
                                    ____________________

                               and Cyr, Circuit Judge.
                                        _____________

                                                     
                                 ____________________


             Terance P. Perry, with  whom Brendan J. Perry and  Christopher M.
             ________________             ________________      ______________
        Perry were on brief for appellants.
        _____
             Philip B.  Benjamin, with whom Aaron K. Bikofsky was on brief for
             ___________________            _________________
        appellee Michael Leporati.
             John P.  Noyes, with whom John  A. Kiernan and Gilberg,  Kurent &amp;
             ______________            ________________     __________________
        Kiernan were on brief for appellees.
        _______

                                                     
                                 ____________________

                                   October 10, 1995
                                                     
                                 ____________________


















































































                    CYR, Circuit  Judge.  Plaintiffs Yvonne  Alexis ("Alex-
                    CYR, Circuit  Judge.
                         ______________

          is"),  and family  members,  challenge a  summary judgment  order

          rejecting various federal civil  rights claims and related state-

          law  claims  stemming from  the  treatment accorded  Alexis  at a

          restaurant  owned and  operated by  defendant-appellee McDonald's

          Restaurants  of Massachusetts,  Inc.   We  affirm,  in part,  and

          remand other claims for further proceedings. 


                                          I
                                          I

                                     BACKGROUND1
                                     BACKGROUND
                                     __________

                    At  approximately  10:00  p.m.  on July  20,  1990,  in

          Framingham, Massachusetts, Alexis and her family, who are African

          Americans,  entered a  McDonald's  restaurant,  proceeded to  the

          service counter, placed their  order, and paid in advance.   When

          the food was placed before them at the service counter, it became

          apparent that  Alfredo Pascacio, whose native  tongue is Spanish,

          had mistaken  their order.   During the ensuing  exchange between

          Alexis and  Pascacio, defendant-appellee Donna Domina, the "swing

          manager," intervened in behalf of Pascacio, which prompted Alexis

          to say:   "[Y]ou take care of  the people in front of  you.  He's

          taking  care of me, and we're sorting this out."  Domina nonethe-

          less persisted for several more minutes.  

                    Ultimately,  Domina said  to Alexis,  "I don't  have to

          listen to you."   Alexis replied, "[Y]ou're damn right  you don't
                              
          ____________________

               1The material facts  in genuine dispute  are related in  the
          light  most  favorable  to  plaintiffs-appellants,  against  whom
          summary judgment was entered.  See Velez-Gomez v. SMA Life Assur.
                                         ___ ___________    _______________
          Co., 8 F.3d 873, 874 (1st Cir. 1993).
          ___

                                          4














          have to listen to me.  I was not speaking to you.  I was speaking

          to him."  Domina then instructed Pascacio:  "Just put their stuff

          in a  bag and get them out  of here."  Turning  to Alexis, Domina

          retorted:   "You're not eating here.   If you [do] we're going to

          call the cops."  Alexis responded:  "Well you do what you have to

          do  because  we  plan to  eat  here."    Notwithstanding Domina's

          instructions, Pascacio placed the  food order on a  service tray,

          without bagging it.   The entire incident at the  service counter

          had lasted approximately ten minutes.  

                    After  the Alexis  family  went into  the dining  area,

          Sherry Topham, a managerial employee, summoned  defendant Michael

          Leporati  into the  restaurant.   Leporati, a  uniformed off-duty

          police sergeant, had  been patrolling on foot outside the restau-

          rant by  prearrangement  with the  Town  of Framingham,  but  had

          witnessed no  part of the earlier exchange among Alexis, Pascacio

          and Domina. 

                    Upon entering the restaurant, Leporati  was informed by

          Domina  that Alexis had been  yelling, creating a  "scene" and an

          "unwarranted disturbance" over a mistaken food order, and direct-

          ing abusive remarks at Pascacio.2   Domina informed Leporati that

          Alexis  had argued loudly with her and another employee; that she

          "just wasn't stopping"; and  that Alexis was still in  the dining

          area though Domina  had "asked  her to leave."   Finally,  Domina

                              
          ____________________

               2At summary judgment, we must credit Alexis's statement that
          she did  not yell or  cause a "disturbance."   See supra  note 1.
                                                         ___ _____
          But since it is  uncontradicted, we must also assume  that Domina
          informed Leporati that Alexis had caused a disturbance.  Id. 
          ________                                                 ___

                                          5














          told Leporati, "I would like her to leave."  
                                       ___

                    Without further inquiry into the "disturbance" alleged-

          ly  caused by Alexis, Leporati proceeded to the dining area where

          Alexis and her family were seated, and informed the entire Alexis

          family that the manager wanted them  to leave and that they would

          have to go.   Alexis  immediately asked why,  denied causing  any

          disturbance,  and claimed a right to finish eating in the restau-

          rant.   When she urged Leporati to ask other restaurant customers

          whether there had been any disturbance, Leporati simply reiterat-

          ed  that the  family would  have to  leave, then returned  to the

          service counter.3  

                    At the service counter, Leporati relayed his  conversa-

          tion with Alexis and  informed Domina that the Alexis  family had

          refused to leave.  In  Leporati's presence, Domina discussed  the

          matter with  Sherry Topham, who  recalled having had  a "problem"

          with Alexis on a prior occasion.4   At that point, Domina stated,

          "Well, if that's the case, then maybe we should  have her leave."

          With that,  Sergeant Leporati returned  to the Alexis  family and

          advised  Alexis that she would be arrested unless she left before
                   ______      ___

          his backup arrived.   Cf. supra  note 3.  Alexis  reiterated that
                                __  _____

          she believed she had the right  to finish eating.  Leporati  left

                              
          ____________________

               3The  record is silent as  to why all  Alexis family members
          were  ordered to leave, though  only Alexis had  been involved in
          the exchange at the service counter.

               4The record  reflects  no other  information concerning  the
          timing or  nature of any such "problem."   As Alexis attests that
          there  had been no prior  incident, we are  required to assume as
          much.  

                                          6














          the dining area to call for backup.

                    Approximately  ten minutes later,  Officer William Fuer

          arrived and Alexis was told by Leporati that she was being placed

          under arrest.  Then, without asking or directing Alexis to get up

          from  the  table, Leporati  suddenly  and  violently grabbed  and

          pulled her bodily from the booth and across the table, handcuffed

          her hands  tightly behind her back, and, with the help of Officer

          Fuer,  dragged her  from  the booth,  bruising  her legs  in  the

          process.  Insisting  that she was "not  resisting arrest," Alexis

          asked the  officers to  allow her  to walk  out.   Instead,  they

          hoisted her by her elbows and carried  her from the restaurant to

          the police car,  where Leporati pushed her into  the car with the

          instruction, "Get your ass in there."  

                    As she  was being  removed from the  restaurant, Alexis

          and her husband repeatedly  asked the officers why she  was being

          treated in this manner.  When  Mr. Alexis said, "We have rights,"

          Leporati  responded, "You people have no rights.  You better shut

          up your [expletive] mouth before I arrest you too."

                    Alexis eventually was charged with criminal trespass, a

          misdemeanor  under  Mass. Gen.  Laws Ann.  ch.  266,    120 (West

          1994).  Following  her acquittal by a jury, Alexis and her family

          filed  the present action in the United States District Court for

          the  District of  Massachusetts,  asserting  civil rights  claims

          under 42  U.S.C.    1981, 1983,  &amp; 1985(3), as well  as state law

          claims  for use  of  excessive force,  intentional infliction  of

          emotional  distress, assault, battery,  false imprisonment, mali-


                                          7














          cious prosecution,  and abuse  of  process.   The district  court

          granted summary judgment for the defendants on all federal claims

          and on  the excessive force  claim against  Leporati under  Mass.

          Gen. Laws Ann. ch. 12,   11I.  Finally, the court granted summary

          judgment  for all defendants  on the remaining  state law claims,

          without stating its grounds.  Plaintiffs appealed.  


                                          II
                                          II

                                      DISCUSSION
                                      DISCUSSION
                                      __________

                    A grant of summary judgment  is reviewed de novo  under
                                                             __ ____

          the same  criteria incumbent upon  the district court;  it cannot

          stand on appeal unless the record  discloses no trialworthy issue

          of material  fact and the moving party is entitled to judgment as

          a matter of law.  Guzman-Rivera v. Rivera-Cruz, 29 F.3d 3, 4 (1st
                            _____________    ___________

          Cir. 1994).  A.     Section 1981
                       A.     Section 1981
                              ____________

                    Section  1981   proscribes  intentional  discrimination

          based on race.  General Bldg. Contractors Ass'n  v. Pennsylvania,
                          _______________________________     ____________

          458 U.S. 375,  391 (1982); Dartmouth Review v. Dartmouth College,
                                     ________________    _________________

          889  F.2d 13, 17  (1st Cir. 1989).   The district  court found no

          competent  evidence  of  intentional  race-based  discrimination.

          Alexis presses her section 1981 claims  against Domina and McDon-

          ald's on the theory that her race-based exclusion from the dining

          area violated  her right to  make and enforce contracts.   See 42
                                                                     ___

          U.S.C.    1981(a).5  As  to defendant Leporati,  she alleges that
                              
          ____________________

               5Section 1981(a) provides in its entirety:

                    All  persons  within  the  jurisdiction  of  the United
                    States shall  have the  same right  in every State  and

                                          8














          her  race-based arrest  deprived her  of the  right to  "full and

          equal benefit of  all laws  and proceedings for  the security  of

          persons  and property  as is  enjoyed by  white citizens,"  id.  
                                                                      ___

          1981(a), and to "like punishment, pains, penalties . . . of every

          kind, and to no other."  Id. (emphasis added).
                    __ __ _____    ___

               1.   Domina and McDonald's
               1.   Domina and McDonald's
                    _____________________

                    The  district court initially excluded, as incompetent,

          see  Fed. R.  Civ.  P. 56(e)  (affidavits  may be  considered  at
          ___

          summary  judgment only if facts attested to are based on admissi-

          ble evidence);  Fed. R.  Evid.  701, portions  of the  deposition

          testimony  of six witnesses    the five Alexis family members and

          Karen  Stauffer,  an eyewitness  to the  events     each  of whom

          opined, in effect, that had Alexis been "a rich white woman," she

          would not  have been treated in the same manner.  The court found

          that  the proffered  testimony was  "not supported  by sufficient

          factual  undergirding"  to  permit a  reasonable  inference  that

          either Domina  or McDonald's discriminated against  Alexis on the

          basis  of her race.  The court nonetheless allowed Alexis further

          time to submit supplemental affidavits setting forth more partic-

          ular grounds for the  conclusory deposition testimony relating to

          racial animus.  Alexis failed to do so.

                    Opinion testimony from lay witnesses is admissible only
                              
          ____________________

                    Territory  to make  and enforce  contracts, to  sue, be
                    parties,  give  evidence, and  to  the  full and  equal
                    benefit of all laws and proceedings for the security of
                    persons and  property as is enjoyed  by white citizens,
                    and shall be subject  to like punishment, pains, penal-
                    ties, taxes, licenses, and exactions of every kind, and
                    to no other. 

                                          9














          if it is "rationally based on the perception of the witness and .

          . . helpful to a clear understanding of the witness' testimony or

          the determination of the fact in  issue."  Fed. R. Evid. 701; see
                                                                        ___

          Swajian v. General Motors Corp., 916 F.2d 31, 36 (1st Cir. 1990).
          _______    ____________________

          Rulings  on the admissibility  of lay  opinion testimony  are re-

          viewed only for "manifest abuse of discretion."  United States v.
                                                           _____________

          Jackman, 48  F.3d 1, 4 (1st  Cir. 1995) (citing  Keller v. United
          _______                                          ______    ______

          States, 38 F.3d 16, 31 (1st Cir. 1994)).  The exclusionary ruling
          ______

          was well within the district court's broad discretion.

                    The  six  deponents based  their  inferences  of racial

          animus on their personal observations that Domina reacted "angri-

          ly" toward Alexis and  with "a negative  tone in her voice,"  was

          "unfriendly," "uncooperative," "high strung,"  "impolite," "impa-

          tient,"  and had  "no reason"  to eject  Alexis.   Although these

          observations may be entirely compatible with a race-based animus,

          there  simply  is  no foundation  for  an  inference that  Domina

          harbored a  racial animus  toward Alexis or  anyone else,  absent

          some probative  evidence  that Domina's  petulance  stemmed  from

          something  other than  a race-neutral  reaction to  the stressful

          encounter plainly  evidenced  in  the  summary  judgment  record,

          including  Alexis's persistence  (however  justified).    As  the

          depositions disclosed no evidentiary  foundation for an inference

          of  racial  animus, the  conclusory  lay  opinions were  properly
              ______

          excluded.   See  Fed. R.  Evid. 701(a);  Fed. R.  Civ.  P. 56(a);
                      ___

          Willco Kuwait (Trading)  S.A.K. v.  deSavary, 843  F.2d 618,  624
          _______________________________     ________

          (1st  Cir. 1988) (lay  opinion testimony, which  does little more


                                          10














          than tell the jury what result to reach, should not be admitted);

          see  also Connell v. Bank of Boston,  924 F.2d 1169, 1177-78 (1st
          ___  ____ _______    ______________

          Cir.) (lay opinion    that employer was "`determined to eliminate

          . . . senior  employees'"    pointed to no  specific facts suffi-

          cient to buttress such a  "broad assertion") (ADEA claim),  cert.
                                                                      _____

          denied,  501 U.S. 1218 (1991); cf. Gross v. Burggraf Constr. Co.,
          ______                         __  _____    ____________________

          53 F.3d 1531, 1544 (10th Cir. 1995) (determining inadmissible the

          lay opinion of co-worker that sexual harassment defendant had "`a

          problem with women who were not between the ages of 19 and 25 and

          who weighed  more than 115 pounds'"); Coca-Cola  Co. v. Overland,
                                                ______________    _________

          Inc., 692 F.2d 1250, 1254-55 (9th Cir. 1982) (upholding exclusion
          ____

          of lay  opinion testimony by  bar and  restaurant employees  that

          customers used term "Coke" in generic sense).

                    As Alexis  points to no competent  evidence that Domina

          and McDonald's intentionally discriminated against her on account

          of her race, the district court correctly ruled that this section

          1981 claim was not  trialworthy.  See Dartmouth Review,  889 F.2d
                                            ___ ________________

          at 18 ("`Disputes generally arise out of mutual misunderstanding,

          misinterpretation   and  overreaction,  and  without  more,  such

          disputes do not  give rise to an  inference of discrimination.'")

          (quoting Johnson v. Legal Servs. of Ark., Inc., 813 F.2d 893, 896
                   _______    __________________________

          (8th  Cir. 1987)).  Accordingly,  the summary judgment entered in

          favor of Domina and McDonald's must be affirmed.

               2.   Leporati
               2.   Leporati
                    ________

                    All courts  of appeals which have  considered the ques-

          tion have held that  a misuse of governmental power  motivated by


                                          11














          racial animus comes squarely within the "equal benefit" and "like

          punishment" clauses  of section 1981(a).   See Mahone  v. Waddle,
                                                     ___ ______     ______

          564  F.2d 1018,  1027-30  (3d Cir.  1977)  (false arrest),  cert.
                                                                      _____

          denied,  438 U.S. 904 (1978);  see also Evans  v. McKay, 869 F.2d
          ______                         ___ ____ _____     _____

          1341,  1344-45 (9th  Cir. 1989)  (reversing dismissal  of section

          1981 claim  alleging that  police officers and  others instigated

          "racially-motivated   arrest-boycott  conspiracy");   Coleman  v.
                                                                _______

          Franklin  Parish Sch.  Bd., 702  F.2d 74,  76-77 (5th  Cir. 1983)
          __________________________

          (remanding  for factfinding  on  section 1981  claim that  school

          officials denied  black pupil equal benefit of  laws and proceed-

          ings relating  to corporal punishment).   We have  been presented

          with no basis in law or reason for departing from this solid line

          of authority.

                    During  the  arrest,  Sergeant Leporati  stated  to Mr.

          Alexis:  "You people have no rights.  You better shut up your . .

          .  mouth before  I arrest  you too."   Alexis  insists that  this

          statement betrayed a  racial animus.  Leporati responds  that the

          statement     "You  people have no  rights"    is  too general to

          support  the section 1981(a) claim.  Given its context, we cannot

          agree.

                    A rational factfinder who  credited this statement,  as

          we must at summary  judgment, see supra note 1,  reasonably could
                                        ___ _____

          infer that Leporati harbored a racial animus  adequate to support

          a section 1981 claim,  especially since the record reflects  that

          the  only relevant  behavior or  physical characteristic     both
               ____

          apparent to Leporati and shared by the Alexis family    was their
          ________                 ______


                                          12














          black skin.  Indeed, a rational factfinder would be  hard-pressed

          to glean a more  plausible inference, particularly since Leporati

          has  tendered  no  alternative  interpretation supported  by  the

          present  record.6   Viewed  in context,  therefore, the  Leporati

          statement, tarring  the  entire family  with  the same  brush    

          absent a scintilla of evidence that any member, with the possible

          exception  of Alexis, had said or done anything remotely wrong or

          disorderly     cannot reasonably  be presumed so  innocent as  to
                                               ________ __  ________ __  __

          preclude a discriminatory animus.
          ________

                    Accordingly,  we  hold  that  the evidence  adduced  at

          summary judgment, viewed in context,  was sufficient to support a

          reasonable inference that Leporati not only gratuitously employed

          excessive force  in arresting  Alexis but  that his actions  were

          motivated by a racial animus violative of the "equal benefit" and

          "like  punishment"  clauses of  section  1981(a).   Thus,  Alexis

          raised  a  trialworthy issue  under  section 1981  as  to whether

          Leporati deprived her of "the full and equal benefit"  of the law

          accorded white  persons and the right  to "like punishment  . . .
                              
          ____________________

               6The only alternative interpretation advanced by Leporati is
          that "there are objective undisputed  facts which are contrary to
          plaintiffs' premise (i.e. that four black people were not ordered
          to  leave and were not  arrested)."  The  undisputed facts flatly
          contradict a material portion of Leporati's  parenthetical asser-
          tion, however.  When Leporati first confronted them in the dining
          area, he ordered the entire Alexis family to leave.  See supra p.
                               ______                          ___ _____
          4.  After returning  to the service  counter to inform Domina  of
          their  refusal to leave, and upon learning that Topham recalled a
          "problem" with Alexis in the past, Leporati returned to the table
          and announced his  intention to  arrest only Alexis.   Given  his
          decision to  arrest only  Alexis, Leporati's retort,  "You people
          have  no rights," accompanied by the  subsequent threat to arrest
          Mr. Alexis, remains unexplained by any argumentation presented on
          appeal.  

                                          13














          [and] no other."  42 U.S.C.   1981(a).7

          B.   Section 1985(3)
          B.   Section 1985(3)
               _______________

                    Alexis alleged that  Leporati and Domina "directly  and

          explicitly conspired  to deprive  [her] of the  equal protection,

          equal  privileges and equal  rights guaranteed  to her  under the

          Constitution and the laws  of the United States" in  violation of

          42 U.S.C.    1985(3).  A  trialworthy section 1985(3)  conspiracy

          claim requires competent evidence  that "`some racial, or perhaps

          otherwise   class-based,   invidiously  discriminatory   animus'"

          motivated the  alleged conspirators.  Bray  v. Alexandria Women's
                                                ____     __________________

          Health Clinic, 113  S. Ct.  753, 758 (1993)  (quoting Griffin  v.
          _____________                                         _______

          Breckenridge, 403  U.S. 88, 102  (1971)).  Alexis  predicated her
          ____________
                              
          ____________________

               7Of course, qualified immunity may  be available to a police
          defendant  in a    1981 action.   See Ricci v.  Key Bancshares of
                                            ___ _____     _________________
          Me., Inc., 768 F.2d 456, 467 (1st Cir. 1985) (FBI agents entitled
          _________
          to qualified immunity  in    1981(a) action); see  also Wicks  v.
                                                        ___  ____ _____
          Mississippi St.  Employment Servs.,  41 F.3d  991, 996  n.21 (5th
          __________________________________
          Cir.),  cert. denied, 115 S. Ct. 2555 (1995); Gallegos v. Denver,
                  _____ ______                          ________    ______
          984 F.2d 358,  364 (10th  Cir.), cert.  denied, 113  S. Ct.  2962
                                           _____  ______
          (1993); Johnson v. Estate of Laccheo, 935 F.2d 109, 112 (6th Cir.
                  _______    _________________
          1991); cf. Yerardi's Moody St. Restaurant &amp; Lounge, Inc. v. Board
                 __  _____________________________________________    _____
          of Selectmen,  878 F.2d  16, 19-21  (1st Cir.  1989) (recognizing
          ____________
          qualified  immunity  defense to     1983  equal protection  claim
          analogous to  "equal benefit" claim in instant  case).  Neverthe-
          less, qualified immunity does "not bar inquiry into a defendant's
          state of mind when the applicable law makes the defendant's state
          of  mind (as distinct from  defendant's knowledge of  the law) an
                                                  _________
          essential element of plaintiff's  constitutional claim."   Felic-
                                                                     ______
          iano-Angulo  v. Rivera-Cruz, 858 F.2d 40, 46 (1st Cir. 1988); see
          ___________     ___________                                   ___
          also  Tompkins v.  Vickers,  26 F.3d  603,  607 (5th  Cir.  1994)
          ____  ________     _______
          (noting that every circuit to consider the question has concluded
          that  "a public official's motive or intent must be considered in
          the  qualified  immunity analysis  where  unlawful motivation  or
          intent is a critical element of the alleged constitutional viola-
          tion")  (collecting cases).    Thus,  whether  Leporati  violated
          Alexis's civil rights under    1981(a) turns on a  material issue
          of  fact in  genuine dispute,  which precluded  summary judgment.
          See  Feliciano-Angulo, 858 F.2d at 47; see also Johnson v. Jones,
          ___  ________________                  ___ ____ _______    _____
          115 S. Ct. 2151, 2158 (1995).

                                          14














          section 1985(3)  conspiracy claim  on Sergeant  Leporati's state-

          ment:   "You  people have  no rights."   Although  this evidence,

          viewed in context, is sufficient to enable a reasonable inference

          that  Leporati harbored  the requisite  racial animus,  see supra
                                                                  ___ _____

          Section  II.A.2, there is no evidence which would support such an

          inference as to Domina.

          C.   Section 1983
          C.   Section 1983
               ____________

                    The gravamen  of these federal claims  is that Sergeant

          Leporati,  acting  under  color of  Massachusetts  law,  deprived

          Alexis of her Fourth Amendment right to be free from unreasonable

          seizure of  her person in  effecting her misdemeanor  arrest with

          excessive force,  without a  warrant and without  probable cause.

          She also  claims  that  Domina deprived  her  of  procedural  due

          process by  summoning Leporati into the  restaurant and directing

          her  removal under color of state law.  Finally, she alleges that

          Leporati  determined to arrest her, and effected her arrest, in a

          discriminatory  manner, based on her race and in violation of the

          Equal Protection Clause of the Fourteenth Amendment.

               1.   Arrest Without Probable Cause 
                    Arrest Without Probable Cause
                    _____________________________

                    a.   Leporati
                    a.   Leporati
                         ________

                    The  Fourth  Amendment  guaranty  against  unreasonable

          seizures of the person requires that arrests be based on probable

          cause.  Beck v. Ohio, 379 U.S. 89, 91 (1964); Santiago v. Fenton,
                  ____    ____                          ________    ______

          891 F.2d 373, 383 (1st Cir. 1989).  The "probable cause" analysis

          entails  "`an objective  assessment of  the officer's  actions in

          light of the facts and circumstances confronting him at the time'


                                          15














          and  not [an assessment  of] the officer's  state of mind  at the

          time  the challenged action was  taken."  Maryland  v. Macon, 472
                                                    ________     _____

          U.S. 463, 470-71 (1985) (quoting Scott v. United States, 436 U.S.
                                           _____    _____________

          128, 136 (1978)).  Probable cause will be found if "the facts and

          circumstances within [the officer's]  knowledge and of which [he]

          had reasonably trustworthy information were sufficient to warrant

          a prudent [person] in believing that  the [defendant] had commit-

          ted or  was committing an offense."   Rivera v. Murphy,  979 F.2d
                                                ______    ______

          259, 263 (1st Cir. 1992).

                         i.   Revocation of Invitation
                         i.   Revocation of Invitation
                              ________________________

                    Although appellants argue that the district court erred

          in finding  probable cause for  Alexis's arrest,  we perceive  no

          error.   As previously  noted, Alexis  was arrested for  criminal

          trespass,  a  misdemeanor  under  the   applicable  Massachusetts

          statute:            Whoever,   without  right
                                         _______  _____
                              enters  or remains  in or
                              ______  __ _______
                              upon the . .  . buildings
                              . . .  of another,  after
                              having been  forbidden so
                              to do by  the person  who
                              has  lawful   control  of
                              said premises . . . shall
                              be punished by a  fine of
                              not more than one hundred
                              dollars  or by  imprison-
                              ment  for  not more  than
                              thirty days  or both such
                              fine and  imprisonment. .
                              .  .   A  person  who  is
                              found   committing   such
                              trespass may  be arrested
                                       ___  __ ________
                              by a . . . police officer
                              and kept in custody  in a
                              convenient   place,   not
                              more   than   twenty-four
                              hours,  Sunday  excepted,
                              until a  complaint can be
                              made against  him for the

                                          16














                              offence, and  he be taken
                              upon  a   warrant  issued
                              upon such complaint.

          Mass.  Gen. Laws Ann.  ch. 266,    120  (emphasis added).   Thus,

          under chapter  266, section  120, a  person who remains,  without
                                                          _______

          right, on the property of another commits a continuing misdemean-

          or for  which she may be  subjected to a warrantless  arrest by a

          police officer provided there is probable cause.  Id.
                                                            ___

                    The undisputed facts demonstrate that  Domina expressly

          directed Alexis to  leave the restaurant, but  that Alexis never-

          theless  refused to leave until  she and her  family had finished

          eating.  Appellants cite no  authority for their implicit sugges-

          tion that Massachusetts recognizes  an exception to the seemingly

          absolute  right of a private  business owner to withdraw, without

          cause,  its implied  license to  enter a  business establishment.

          Cf.  State v.  Tauvar,  461 A.2d  1065,  1067 (Me.  1983)  (Maine
          __   _____     ______

          trespass statute  permits revocation  of implied  invitation only
                                                                       ____

          where  business  owner  "has  some justification  for  requesting

          removal"); Model Penal Code   221.2(3)(b) (affirmative defense to

          criminal  trespass requires evidence that "premises . . . open to

          members of  the public and  [defendant] complied with  all lawful

          conditions  imposed on access to or  remaining in the premises").

          Moreover, we have combed Massachusetts law for such an exception,

          to no avail. 

                    It  has been held, of  course, and we  do not question,

          that a Massachusetts business property owner  may not violate the

          constitutional  or statutory  rights  of its  business  licensees


                                          17














          under the  shield of  the  Massachusetts trespass  statute.   See
                                                                        ___

          Hurley  v. Hinckley, 304 F. Supp. 704,  710 (D. Mass. 1969) ("The
          ______     ________

          words `without right' in the context of the historical concept of

          trespass  can only mean: [`]without  any legal right; without any

          right, permission or license recognized  by law as permitting  an

          entry  into the  area described  in the  statute.['] .  . .   The

          concept [of] legal right in the context of today's constitutional

          developments includes  any right of the  plaintiffs, individually

          or collectively, found in the Constitution of the United States .

          . .  ."), aff'd  mem., 396  U.S. 277  (1970);  Smith v.  Suburban
                    _____  ____                          __________________

          Restaurants, Inc.,  373 N.E.2d 215,  218 (Mass. 1978)  (noting in
          _________________

          libel case that "[a] place of public accommodation, as members of

          the  community might know, has an obligation to treat each member

          of the public equally, except for good cause") (dicta) (citations

          omitted);  Commonwealth v.  Lapon, 554  N.E.2d 1225,  1227 (Mass.
                     ____________     _____

          App. Ct.  1990) (the  term "without right"  encompasses constitu-

          tional rights).

                    Nevertheless, the Massachusetts  trespass statute  does

          not limit  the power of a Massachusetts  business owner summarily
                                                                  _________

          to revoke a  business licensee's  right to enter  or remain  upon

          business premises held open to the general public.  See Stager v.
                                                              ___ ______

          G.E.  Lothrop Theatres Co., 197 N.E. 86, 87 (Mass. 1935) (finding
          __________________________

          that,  "[g]enerally speaking,"  a theater  owner has  an absolute

          right  to revoke theater-goer's license to enter or remain on the

          premises); cf. Baseball Publishing Co. v.  Bruton, 18 N.E.2d 362,
                     ___ _______________________     ______

          363 (Mass.  1938) ("[I]t is of the essence of a license [to enter


                                          18














          private property] that it  is revocable at  the will of the  pos-

          sessor  of the  land. .  . .    The revocation  of a  license may

          constitute a breach of contract,  and give rise to an action  for

          damages.   But  it  is none  the  less effective  to  deprive the

          licensee of all justification for entering or  remaining upon the

          land."); Commonwealth v. Hood,  452 N.E.2d 188, 194 (Mass.  1983)
                   ____________    ____

          (stating  that  Massachusetts trespass  statute  "`protect[s] the

          rights  of those in lawful control of property to forbid entrance

          by those whom they are unwilling to receive, and to  exclude them

          if, having entered, those in control  see fit to command them  to

          leave'") (quoting Commonwealth v.  Richardson, 48 N.E.2d 678, 682
                            ____________     __________

          (Mass. 1943)); see also State v. Bowman, 866 P.2d 193, 202 (Idaho
                         ___ ____ _____    ______

          Ct. App. 1993) (in case involving business invitees who purchased

          movie theater tickets, holding  that Idaho trespass statute "does

          not require that the owner[s] of private property have any reason

          for  asking  trespassers to  get off  their land");  Impastato v.
                                                               _________

          Hellman  Enters., Inc.,  537 N.Y.S.2d  659,  661 (N.Y.  App. Div.
          ______________________

          1989) (same).  Absent some invidious ulterior purpose, therefore,

          once proper notice has been given  by the owner, and the business

          licensee nonetheless remains  on the property,  the Massachusetts

          trespass statute  permits arrest of the uncooperative trespasser.

          See Hood, 452 N.E.2d at 194.  
          ___ ____

                    Although  the Massachusetts  trespass statute  does not
                                                                        ___

          enable business owners to exclude business licensees on discrimi-

          natory  grounds, Hurley, 304 F. Supp. at 710, Alexis proffered no
                           ______

          competent evidence  that Domina or  McDonald's, as  distinguished


                                          19














          from Leporati, sought to  exclude her on  the basis of her  race.

          See supra Section II.A.1.   Thus, on the record  evidence, Domina
          ___ _____

          acted  within her  lawful  authority     as "the  person [having]

          lawful control of said premises," Mass. Gen. Laws Ann. ch. 266,  

          120    in revoking Alexis's implied license to utilize McDonald's

          dining facilities.

                         ii.  Probable Cause
                         ii.  Probable Cause
                              ______________

                    Probable cause  exists if "the facts  and circumstances

          within [a police officer's] knowledge  and of which [the officer]

          had   reasonably  trustworthy  information  [are]  sufficient  in

          themselves  to  warrant  a  [person] of  reasonable  caution"  to

          believe  that a crime has  been committed or  is being committed.

          Carroll v. United States, 267 U.S. 132, 162 (1925); United States
          _______    _____________                            _____________

          v.  Drake, 673 F.2d  15, 17 (1st  Cir. 1982).   Leporati effected
              _____

          this  arrest based  on  the eyewitness  report  from Domina  that

          Alexis had  created an  "unwarranted disturbance" and  refused to

          leave  the premises, and  on the representation  by Sherry Topham

          that there had been  an unspecified "problem" with Alexis  in the

          past.  An  objectively reasonable police  officer so informed  by

          the person in charge of the business premises, see supra  note 2,
                                                         ___ _____

          fairly could conclude that the implied license extended to Alexis

          had been revoked  and that  there was probable  cause to  believe

          that her continued presence constituted a criminal trespass.  See
                                                                        ___

          Mass. Gen.  Laws Ann.  ch. 266,     120 ("A  person .  . .  found

          committing such  trespass  may be  arrested  by a  . .  .  police

          officer . . . .");  see also United States v. Figueroa,  818 F.2d
                              ___ ____ _____________    ________


                                          20














          1020, 1023 (1st Cir. 1987) ("The constitutionality of a  warrant-

          less arrest `depends . . . upon whether, at the moment the arrest

          was made, the officers had  probable cause to make it --  whether

          at that moment the facts and circumstances within their knowledge

          and  of which  they had  reasonably trustworthy  information were

          sufficient to  warrant a prudent  [person] in believing  that the

          [defendant]  had  committed  or  was  committing  an  offense.'")

          (quoting Beck, 379 U.S. at 91).  Accordingly, we discern no error
                   ____

          in the district court ruling  that appellants failed to establish

          a trialworthy dispute on the issue of probable cause to arrest.

                    b.  Domina 
                    b.  Domina
                        ______

                    A section 1983 claim does not lie absent  state action.

          Casa Marie, Inc.  v. Superior  Court of P.R.,  988 F.2d 252,  258
          ________________     _______________________

          (1st  Cir. 1993); 42 U.S.C.   1983 (providing remedy for depriva-

          tions "under color of any statute, ordinance, regulation, custom,

          or usage" of  any state or territory).  There  are two components

          to the "state  action" requirement.  First, the  deprivation must

          be shown  to have been  caused by the  exercise of some  right or

          privilege created by  the state, or by a rule  of conduct imposed

          by the state, or by  a person for whom the state  is responsible.

          Casa Marie, 988 F.2d at 258.   Second, the party charged with the
          __________

          deprivation must be a person who may fairly be said to be a state

          actor.   Id.   Where  a private  individual is  a defendant  in a
                   ___

          section 1983 action,  there must  be a showing  that the  private

          party and the state actor jointly deprived plaintiff of her civil

          rights.  Wagenmann v.  Adams, 829 F.2d 196, 209  (1st Cir. 1987);
                   _________     _____


                                          21














          Casa Marie, 988 F.2d  at 258-59; see  also Dennis v. Sparks,  449
          __________                       ___  ____ ______    ______

          U.S.  24, 27-28  (1980) ("Private  persons, jointly  engaged with

          state  officials  in the  challenged  action,  are acting  `under

          color' of law for purposes of   1983 actions.").

                    There was  no evidence of  joint discriminatory  action

          between Leporati  and Domina    whether  by plan, prearrangement,

          conspiracy, custom, or  policy    which  would enable a  rational

          factfinder to  conclude that  Alexis's arrest resulted  from con-

          certed  action  tantamount  to  substituting the  judgment  of  a

          private  party for  that of  the police  or allowing  the private

          party  to exercise state power.   Compare Wagenmann,  829 F.2d at
                                            _______ _________

          209-11  (close relationship  between  private citizen  and deputy

          police  chief,  together with  evidence  that  private actor  and

          police  collectively  determined  to  arrest   plaintiff,  raised

          inference that private actor was more than "mere complainant" and

          that a "meeting of the minds" occurred between police and private

          defendant sufficient to warrant  finding that defendant was state

          actor) with Carey  v. Continental Airlines, Inc.,  823 F.2d 1402,
                 ____ _____     __________________________

          1404  (10th  Cir.  1987)  (airline employee,  who  complained  of

          striking airline pilot's presence in airport terminal and refusal

          to  leave, found  not  to be  state  actor where  police  officer

          summoned  to  airport terminal  asked  pilot to  leave  and, upon

          pilot's refusal, called for three additional officers who escort-

          ed  pilot to airport security station where he was arrested); see
                                                                        ___

          also  Adickes v.  S. H.  Kress &amp;  Co., 398  U.S. 144,  152 (1970)
          ____  _______     ___________________

          (holding that white schoolteacher, in company of six black youths


                                          22














          denied service  at lunch  counter,  would be  entitled to  relief

          under section  1983 upon  proof that  lunch counter  employee and
                              ____  _____ ____  _____ _______  ________ ___

          policeman had reached an understanding to deny service to teacher
          _________ ___ _______ __ _____________

          because  she was a white person in  company of blacks).  As there

          is no evidence in the summary judgment record from which it could

          fairly be inferred that  Domina and Leporati had any  understand-

          ing, tacit or explicit, to deprive Alexis of any right secured by

          the Constitution or laws  of the United States, we  conclude that

          the district court correctly  granted summary judgment for Domina

          on this section 1983 claim.8

               2.   Excessive Force
               2.   Excessive Force
                    _______________

                    Alexis  asserts an  "excessive  force" claim  under the

          Fourth  Amendment, which  guarantees  citizens the  right "to  be

          secure  in their persons  . . .  against unreasonable .  . . sei-

          zures."  See Graham  v. Connor, 490 U.S. 386,  394 (1989) ("Where
                   ___ ______     ______

          [an] excessive force claim arises in  the context of an arrest or

          investigatory stop of a free citizen, it is most properly charac-

          terized as one invoking the protections of the Fourth Amendment .

          . .  .").  In  the Fourth  Amendment setting, a  viable excessive

          force claim must demonstrate  that the police defendant's actions

          were not objectively reasonable, viewed in light of the facts and

          circumstances confronting him and  without regard to his underly-

          ing intent or motivation.  Id. at 397 ("An officer's evil  inten-
                                     ___

          tions  will not  make  a Fourth  Amendment  violation out  of  an

          objectively reasonable use of  force; nor will an  officer's good
                              
          ____________________

               8Alexis asserts no section 1983 claim against McDonald's.

                                          23














          intentions make an objectively  unreasonable use of force consti-

          tutional.") (citations omitted).9  

                    As the Supreme Court has counseled, our inquiry must be

          undertaken  from the perspective of  "a reasonable officer on the

          scene, rather than  with the 20/20 vision of hindsight."   Id. at
                                                                     ___

          396 (citations  omitted).   Though the reasonableness  test under

          the Fourth Amendment  "`is not capable  of precise definition  or

          mechanical application,'" id. (quoting  Bell v. Wolfish, 441 U.S.
                                    ___           ____    _______

          520,  559 (1979)), "`[n]ot every  push or shove'"  will reach the

          level required for  an actionable "excessive  force" claim.   Id.
                                                                        ___

          (citation omitted); Gaudreault  v. Salem, 923 F.2d  203, 205 (1st
                              __________     _____

          Cir. 1990) ("[P]olice officers making arrests are often forced to

          make  split-second decisions about the  amount of force needed to

          effect  an  arrest while  operating  under  tense, dangerous  and

          rapidly-changing  circumstances."), cert.  denied,  500 U.S.  956
                                              _____  ______

          (1991).    Accordingly,  Graham  prescribes  three  criteria  for
                                   ______

          evaluating the  objective reasonableness  of the force  used: (1)

          "the  severity of the crime  at issue;" (2)  "whether the suspect

          poses  an immediate  threat  to the  safety  of the  officers  or

          others;"  and (3)  "whether [the  suspect] is  actively resisting

          arrest or attempting  to evade  arrest by flight."   Graham,  490
                                                               ______

          U.S. at 396; see also Gaudreault, 923 F.2d at 205.  
                       ___ ____ __________

                    All three Graham factors, viewed in the context of "the
                              ______
                              
          ____________________

               9Of  course,  if  evidence  of  racial  discrimination  were
          presented at trial, it would be for the  factfinder    in assess-
          ing the officer's credibility    to determine whether the officer
          harbored  ill will toward the plaintiff.  Graham, 490 U.S. at 399
                                                    ______
          n.12.

                                          24














          totality of the circumstances," Graham, 490 U.S. at 396; see also
                                          ______                   ___ ____

          supra  p. 5,  weigh heavily in favor of Alexis.  First, the crime
          _____

          for  which she was  arrested    criminal trespass     is a misde-

          meanor.  See Mass. Gen. Laws Ann. ch. 266,   120 (maximum term 30
                   ___

          days).  Second, there is no suggestion that Alexis posed a threat

          to the peace or safety of anyone, including Sergeant Leporati and

          Officer Fuer.  Third,  taking her evidence at face  value, Alexis

          neither  threatened nor attempted to evade or resist arrest.  Nor

          did any Alexis  family member pose  a threat to  the officers  or

          anyone else.  Yet, without even having been requested or directed

          to  get  up from  the  table     and though  all  the surrounding

          circumstances, individually and in combination, plainly counseled

          minimal  force in  effecting any  arrest     Alexis  was abruptly

          pulled from  the  booth, and  across the  table, with  sufficient

          force to bruise her  legs, then handcuffed with her  hands behind

          her back and  dragged and carried to a police  cruiser and pushed

          inside.

                    Viewed  in context  and accepted  as true,  we are  not

          persuaded that the record  evidence compelled the conclusion that

          the force  with which Leporati effected  the sudden, unannounced,

          violent seizure  and removal  of Alexis's person  was objectively

          reasonable, especially  since there is no  evidence or suggestion

          that  she posed a  risk of flight,  attempted to resist  or evade

          arrest,  or threatened  the  peace, property  or  safety of  any-






                                          25














          one.10   See Palmer  v. Sanderson, 9  F.3d 1433,  1436 (9th  Cir.
                   ___ ______     _________

          1993) (finding  trialworthy "excessive force" claim  where deputy

          sheriff  arrested, tightly  handcuffed, and  bruised sixty-seven-

          year-old man with  impaired mobility who  attempted to return  to

          his  car to sit  down while  answering officer's  questions); see
                                                                        ___

          also  Rowland v.  Perry,  41 F.3d  167,  171-74 (4th  Cir.  1994)
          ____  _______     _____

          (finding trialworthy "excessive force" claim where police officer

          injured arrestee's  leg ("wrenching  the knee until  it cracked")

          after  arrestee picked up five dollar bill dropped by its owner);

          cf. Lester v.  Chicago, 830 F.2d 706,  714 (7th Cir.  1987) (pre-
          ___ ______     _______

          Graham  case) (holding that  plaintiff stated  trialworthy Fourth
          ______

          Amendment "excessive  force" claim when, during  course of arrest

          for disturbing peace, plaintiff was kneed in the back, threatened

          with being struck, dragged down a hallway,  and handcuffed tight-

          ly,  causing bruises on her wrists); Patzner v. Burkett, 779 F.2d
                                               _______    _______

          1363, 1371 (8th Cir. 1985) (pre-Graham case) (finding trialworthy
                                          ______

          "excessive  force"  claim where  uncooperative double  amputee   

          arrested at home  after allegedly driving under  the influence   

          was pulled from  wheelchair to floor,  then dragged through  home

          after promising  to cooperate).11    Accordingly, the  "excessive
                              
          ____________________

               10The district  court did not discuss  qualified immunity in
          relation to the "excessive force" claim.  Nor do we,  as any such
          defense is for the district court in the first instance. 

               11Contrary to Leporati's  suggestion, a trialworthy  "exces-
          sive force"  claim is  not precluded  merely  because only  minor
          injuries were inflicted by the seizure.   See Lester, 830 F.2d at
                                                    ___ ______
          714 (finding reversible error in district court "excessive force"
          instruction which required jury to find "severe injury," thus may
          have  led jury to  find for defendant  where plaintiff's physical
          injuries consisted only  of bruises); see  also Harper v.  Harris
                                                ___  ____ ______     ______

                                          26














          force" claim must be remanded for further proceedings.12

               3.   Equal Protection
               3.   Equal Protection
                    ________________

                    Alexis claims  that Leporati discriminated  against her

          on the basis of her race, both in deciding to  enforce the crimi-

          nal  trespass statute by  effecting her immediate  arrest, and by
                                                  _________  ______

          employing unreasonable  force.   Even assuming probable  cause to

          arrest,  she  argues that  Leporati  would not  have  effected an

          immediate seizure of her  person for so minor an  infraction, nor

          used such excessive force, were it not for the color of her skin.



                    In order to avoid summary judgment on her Equal Protec-

          tion Clause claim, Alexis had to tender competent evidence that a

          state actor intentionally  discriminated against her  because she

          belonged to a protected class.   Johnson v. Morel, 876 F.2d  477,
                                           _______    _____

          479  (5th Cir. 1989) (citing  Washington v. Davis,  426 U.S. 229,
                                        __________    _____

          247-48  (1976)), overruled  on  other grounds,  Harper v.  Harris
                           _________  __  _____ _______   ______     ______

          County, 21 F.3d  597, 600 (5th  Cir. 1994).  This  she did.   See
          ______                                                        ___

          supra  Section  II.A.2.    A rational  factfinder,  who  credited
          _____

          Alexis's  evidence of  racial animus  and excessive  force, could

          conclude that Leporati  resolved, on  the basis of  her race,  to

          enforce the  criminal trespass statute by  effecting an immediate

                              
          ____________________

          County,  21 F.3d 597, 600 (5th Cir. 1994) (holding that plaintiff
          ______
          need not  prove "significant  injury" to assert  Fourth Amendment
          "excessive force" claim).  

               12We likewise remand for further proceedings  the "excessive
          force" claim under Mass. Gen. Laws Ann. ch. 12,   11I, upon which
          the  district court  granted  summary judgment  on the  identical
          grounds relied on for the section 1983 "excessive force" claim.

                                          27














          seizure of her  person.  See  Yick Wo v.  Hopkins, 118 U.S.  356,
                                   ___  _______     _______

          373-74 (1886)  ("[I]f [the  law] is  applied and  administered by

          public  authority with an  evil eye  and an  unequal hand,  so as

          practically  to make unjust  and illegal  discriminations between

          persons in  similar circumstances, material to  their rights, the

          denial  of equal justice is  still within the  prohibition of the

          constitution.");  Johnson, 876  F.2d  at  479  (plaintiff  stated
                            _______

          viable Equal  Protection Clause  claim, where  officer humiliated

          and harassed plaintiff prior to and during lawful arrest on basis
                                                     ______

          of  plaintiff's race); United States  v. Scopo, 19  F.3d 777, 786
                                 _____________     _____

          (2d Cir.) ("Though the Fourth Amendment permits a pretext arrest,

          if otherwise  supported by  probable cause, the  Equal Protection

          Clause  still  imposes  restraint  on  impermissibly  class-based

          discriminations.") (Newman, C.J., concurring), cert.  denied, 115
                                                         _____  ______

          S. Ct. 207 (1994); Inada v. Sullivan, 523 F.2d 485, 489 (7th Cir.
                             _____    ________

          1975)  (finding right  of  action under  Equal Protection  Clause

          where  police  officer, motivated  by  animus  toward plaintiff's

          ancestry, threatened him with  deportation); Tanner v. Heise, 879
                                                       ______    _____

          F.2d 572, 580 n.5 (9th Cir. 1989) (where plaintiff alleged "equal

          protection"  violation, police  officers' "mere  compliance" with

          state  law would  not shield  them from  liability under    1983,

          provided  plaintiff could  prove  that  officers' motivation  for

          arrest was to harass plaintiff because of his religious beliefs).

          Furthermore,  a  rational  factfinder  could  conclude  that,  in

          electing  to use excessive force to effect the violent seizure of

          Alexis's  person and  her forcible  removal from  the restaurant,


                                          28














          Leporati  was motivated by a discriminatory animus.  See Smith v.
                                                               ___ _____

          Fontana, 818 F.2d 1411, 1420 (9th Cir.) (finding actionable claim
          _______

          where it was alleged  that decedent had been subdued  through use

          of  excessive force because he was black), cert. denied, 484 U.S.
                                                     _____ ______

          935 (1987).  We therefore hold, based on the present record, that

          the Equal  Protection Clause claims under section 1983 are trial-

          worthy.13

          D.   State Law Claims
          D.   State Law Claims
               ________________

                    Since only  one state  law claim  was addressed  on the

          merits  below, see  supra  note  12,  and federal  claims  remain
                         ___  _____

          pending, the state  law claims against Leporati  must be remanded

          as well.  See 28 U.S.C.   1367(c)(3) (district court may  decline
                    ___

          to exercise supplemental jurisdiction where all claims over which

          court  has  original  jurisdiction  have been  dismissed).    The

          dismissal of  the state-law  claims against the  remaining defen-

          dants is affirmed.


                                         III
                                         III

                                      CONCLUSION
                                      CONCLUSION
                                      __________

                    The district court judgment dismissing the section 1983

          claim  against  Leporati for  arresting  Alexis  without probable

          cause  in violation  of the  Fourth Amendment  is affirmed.   The

          judgments  entered  in favor  of  Domina  and McDonald's  on  the
                              
          ____________________

               13Of  course,  Alexis's equal  protection  claim  requires a
          showing that Leporati treated her  differently than he would have
          treated  a white person.  We leave  open the question of what, if
          any, additional  evidence might be  required at trial  to satisfy
                                                       __ _____
          this  element.   See  Johnson,  876  F.2d  at 483-84  (concurring
                           ___  _______
          opinion).

                                          29














          section 1981 claim;  Domina and Leporati  on the section  1985(3)

          claim;  and Domina  on the  section 1983  procedural due  process

          claim are affirmed.  The district court judgment entered in favor

          of  Leporati  on the  section  1981, excessive  force,  and Equal

          Protection Clause claims is vacated, and these claims are remand-

          ed for  further proceedings  consistent with this  opinion, along

          with all pendent state law claims against Leporati, see 28 U.S.C.
                                                              ___

            1367(c)(3).  The parties shall  bear their own costs on appeal.



                    SO ORDERED.  
                    SO ORDERED.  
                    __ _______



                             - Separate Opinion Follows -






























                                          30














                    BOWNES, Senior Circuit Judge,  concurring, in part, and
                    BOWNES, Senior Circuit Judge,
                            ____________________

          dissenting, in part.   I  concur in all  of the court's  holdings

          except the one dismissing the  section 1983 claim against Domina.

          The  evidence taken in the light most favorable to the plaintiffs

          is sufficient, I believe, for a reasonable factfinder to conclude

          that  there  was  a conspiracy  between  Domina  and  Leporati to

          discriminate against the plaintiff, Yvonne Alexis, because of the

          color of her skin.

                                          I.
                                          I.

                    The facts from which such a conspiracy could rationally

          be inferred are  as follows.   A dispute  over an incorrect  food

          order occurred  at the McDonald's service  counter between plain-

          tiff Yvonne Alexis,  an African American woman, Donna Domina, the

          "swing manager," and the  counterperson, Alfredo Pascacio.  After

          the  dispute was  over, Shirley  Topham, a  McDonald's managerial

          employee, went outside the restaurant for police assistance.  She

          returned  with  Officer  Leporati,  a uniformed  off-duty  police

          officer assigned  to McDonald's pursuant to  an agreement between

          McDonald's and  the Town of Framingham.   Leporati conferred with

          both Topham  and Domina,  who identified  Yvonne Alexis  as "that

          black woman."  Domina told Leporati that she wanted Alexis out of

          the restaurant.   Domina made  this request even  though she  was

          aware  Yvonne  Alexis  and  her family  had  already  taken seats

          preparatory to eating the food they had purchased.  

                    Officer Leporati neither asked Topham and Domina why he

          should make  Alexis leave  the restaurant nor  made inquiries  of


                                          28














          anybody else  as to  the behavior of  the Alexis  family.   Based

          solely on his initial discussion with Domina and Topham, Leporati

          proceeded  to the dining room  table where the  Alexis family sat

          quietly  eating their food.   He told Yvonne  Alexis that she and

          her  entire  family had  to leave  the  premises.   Yvonne Alexis

          stated that  they would  not leave  until  they finished  eating.

          Upon  hearing  this, Officer  Leporati left  the dining  area and

          conferred again with Topham and Domina.  He told them that Alexis

          refused to leave.        During  this  second discussion,  Topham

          said she  had a  problem with  this woman  on  a prior  occasion.

          Domina then said, "Well, if that's the case, then maybe we should

          have  her leave."  Neither Domina  nor Officer Leporati requested

          information about the alleged prior problem with Alexis.  Signif-

          icantly,  Officer Leporati again failed  to inquire as  to why he

          was being told to remove Alexis from the restaurant.  Instead, he

          said that "it wouldn't be pretty" but he would make Yvonne Alexis

          leave  if Domina wanted  him to.   Domina then told  him that she

          wanted Yvonne Alexis out of the restaurant.  

                    Officer  Leporati  returned  to  the  Alexis  table and

          notified Yvonne Alexis that she would be arrested unless she left

          within  the ten  minutes  it would  take  his backup  cruiser  to

          arrive.  Neither Yvonne nor any member of her family  left.  When

          the cruiser  arrived, Officer  Leporati physically  pulled Yvonne

          Alexis out of her  seat and over the table  at which she and  her

          family  had been  eating, bruising  her in  the process.   Yvonne

          Alexis was then handcuffed, pushed into the cruiser, and taken to


                                          29














          jail.

                    Both  Yvonne  Alexis  and  her  husband  protested  the

          violent treatment  she received from Officer  Leporati during her

          removal from the  restaurant.   At one juncture,  Mr. Alexis  ex-

          claimed,  "We have  rights,"  to which  Officer Leporati  retort-

          ed,"You  people have no rights.   You better shut up your [exple-

          tive]  mouth before  I arrest  you too."   Officer  Leporati made

          these comments while still inside the restaurant.

                                         II.
                                         II.

                    The  majority  opinion's cursory  treatment  of Alexis'

          section 1983  claims overlooks several factual  bases for finding

          that there was a conspiracy within section 1983's "under color of

          law"  requirement  between Domina  and  Leporati.   See  Lugar v.
                                                              ___  ________

          Edmonson  Oil Co., 457 U.S. 922, 928 (1982)("'under color of law'
          _________________

          has consistently been  treated as  the same thing  as the  'state

          action'  required under  the  Fourteenth  Amendment").   Evidence

          submitted at trial, when  viewed in the "light most  favorable to

          the nonmoving party" and with  "all reasonable inferences in that

          party's favor,"  Colonial Courts Apartment Co.  v. Proc. Assocs.,
                           _______________________________________________

          57 F.3d 119, 122 (1st Cir. 1995), supports the view  that Alexis'

          arrest  resulted from  concerted action  between Domina  and Lep-

          orati. 

                    Section 1983  conspiracies are "commonly defined  as 'a

          combination of two or more persons acting in concert to commit an

          unlawful  act, or to  commit a lawful act  by unlawful means, the

          principal  element of which  is an agreement  between the parties


                                          30














          'to  inflict  a wrong  against or  injury  upon another'  . .. ."

          Earle  v.  Benoit, 850  F.2d  836,  844 (1st  Cir.  1988)(quoting
          _________________

          Hampton  v. Hanrahan, 600 F.2d 600, 620-21 (7th Cir. 1979), rev'd
          ____________________                                        _____

          in part  on other  grounds, 446  U.S.  754 (1980)).   Under  this
          __ ____  __ _____  _______

          definition,  section 1983  liability  attaches to  private actors

          deemed "willful participant[s] in  [a] joint action with a  State

          or its  agents."  Lugar, 457  U.S. at 941; Dennis  v. Sparks, 449
                            _____                    _________________

          U.S. 24, 27 (1980); Casa Marie,  Inc. v. Superior Court of Puerto
                              _____________________________________________

          Rico, 988 F.2d 252, 259 (1st Cir. 1993).  And joint action may be
          ____

          proved by circumstantial  evidence of  a prearranged  conspiracy.

          See Wagenmann v.  Adams, 829 F.2d 196,  211 (1st Cir. 1987);  see
          ___ ___________________                                       ___

          also  Moore v. Marketplace Restaurant, Inc.,  754 F.2d 1336, 1352
          ____  _____________________________________

          (7th Cir. 1985).

                    I do not contend that joint action existed in this case

          because Leporati  worked the  McDonald's detail or  that Domina's

          supervisor, Shirley Topham, requested his assistance.  This court

          has clearly stated  that "merely initiating a good  faith request

          for police protection  would not attach liability  for the subse-

          quent unconstitutional  conduct of arresting  officers."   Wagen-
                                                                     ______

          mann, 829 F.2d at 210; see also Lusby v. T.G. &amp; Y.  Stores, Inc.,
          ____                   ___ ____ ________________________________

          749  F.2d 1423, 1433 (10th  Cir. 1984), vacated  on other grounds
                                                  _______  __ _____ _______

          sub  nom. City of Lawton v. Lusby,  474 U.S. 805 (1985), aff'd by
          ___  ____ _______________________                        _____ __

          796 F.2d 1307 (10th  Cir. 1986)(a store that employs  an off-duty

          police officer is not  vicariously liable under section 1983  for

          such officer's deprivation of  customer's civil rights).   But, I

          am  persuaded by the fact  that Domina and  Leporati conferred on


                                          31














          two separate occasions before Alexis' brutal arrest.  The  record

          establishes that Domina, not Leporati, made the decision to expel

          Alexis from McDonald's premises, and that she made  that decision

          with the knowledge  that some harm  could befall Alexis  (Alexis'

          removal "would not be pretty").  And it is clear that Domina knew

          that Leporati would do as she requested.

                    Viewed  in context,  the  events  precipitating  Yvonne

          Alexis' claims against Domina cast a  long shadow of doubt on the

          majority's  conclusion that  there was  "no evidence"  to suggest

          Alexis'  claims  against  Domina  should  have  survived  summary

          judgment.   The facts --  that Leporati consulted  with Domina on

          two occasions; that Leporati based his decision to  arrest Alexis

          on Domina's order; and  that it could be found that both Leporati

          and  Domina took Yvonne Alexis'  race into account  --  certainly

          suggest  something more  than independent,  race neutral,  police

          action.    A factfinder  could reasonably  infer that  Domina and

          Leporati  were acting in concert with one another according to an

          informal  plan  whereby  Leporati  would eject  anyone  from  the

          restaurant identified by Domina as a problem without independent-

          ly investigating the situation.    

                    Evidence  of  such  substituted  judgment  arrangements

          provides a basis  for extending section 1983 liability to private

          actors.   See Cruz  v. Donnelly, 727  F.2d 79, 81  (3d Cir. 1984)
                    ___ _________________

          (holding  evidence of  a  pre-arranged plan  to arrest  suspected

          shoplifters without independently  investigating the presence  of

          probable  cause was  needed  to confer  section 1983  liability);


                                          32














          Lusby, 749 F.2d at 1432-33.  While it generally does not  suffice
          _____

          to show that a police officer fulfilled a private actor's request

          to  arrest someone,  courts  will impose  liability  where it  is

          evident  the  police officer  would  not have  acted  without the

          private  actor's order.   Cruz,  727 F.2d  at 81.   A  failure to
                                    ____

          investigate, though not dispositive, has been deemed sufficiently

          demonstrative of  conspiratorial conduct. See Lusby,  749 F.2d at
                                                    ___ _____

          1432.

                    Despite  the majority's  attempts to  do so,  this case

          cannot  be squared  with  the  holding  in Carey  v.  Continental
                                                     ______________________

          Airlines, Inc., 823 F.2d 1402 (10th Cir. 1987).  In that case the
          ______________

          Tenth Circuit found that there was no substituted  judgment where

          a police officer was  called into an airport to arrest a striking

          airline pilot.  The police officer in Carey, however, was more of
                                                _____

          an  independent actor than the facts show Officer Leporati was in

          this case.   That officer actually  conducted a separate  inquiry

          into the  facts before arresting  the pilot.   823 F.2d  at 1403.

          Officer Leporati  failed to investigate  at all, choosing  to act

          solely at Domina's behest.  Additionally, it is worth noting that

          the  use of  excessive force  and obvious  racial overtones  that

          marked  Officer Leporati's actions in this  case were not present

          in Carey.  
             _____

                    The  current case  more closely  patterns Wagenmann  v.
                                                              _____________

          Adams, 829 F.2d 196 (1st Cir. 1987), a case the majority attempts
          _____

          to distinguish.  In that  case the private actor enjoyed a  close

          relationship  with local  police  officers and  enlisted them  in


                                          33














          carrying out a plan to eject a potential agitator from his  son's

          wedding  ceremony.  We held that a section 1983 conspiracy exist-

          ed, concluding  that the defendant  in that case  was essentially

          using the law  enforcement officials involved to achieve his own,

          unconstitutional ends. 829 F.2d at 211. 

                    A  sound evidentiary basis exists for concluding Domina

          and Leporati adhered to a substituted  judgment policy not unlike

          the one  deemed constitutionally violative in  Wagenmann.  First,
                                                         _________

          the record reveals Domina,  not Leporati, as the impetus  for the

          decision to eject Yvonne  Alexis.  Second,  Domina  and Leporati,

          as individuals who worked  at McDonald's, could be found  to have

          had a  shared  understanding  to  deprive Yvonne  Alexis  of  her

          rights.   See Adickes v. Kress,  398 U.S. 144, 152  (1970).  Lep-
                    ___ _______    _____

          orati worked the McDonald's detail on numerous occasions and must

          have  had a  working  knowledge of  company  policy and  decision

          making  procedures  for  removals.   Finally,  the  conversations

          Domina  and Leporati  held  regarding Alexis  were sufficient  in

          duration  and  number to  cement  a  conspiracy.   These  factors

          convince me  that the independent police  actions which persuaded

          the  Tenth Circuit that no private liability existed in Carey are
                                                                  _____

          not present in this case.

                    I am not  dissuaded by the  absence of conclusive  evi-

          dence that an express plan to discriminate existed between Domina

          and Leporati.  The  Supreme Court has found a section 1983 viola-

          tion where there was no formal plan to  discriminate.  In Adickes
                                                                    _______

          v.  Kress  &amp; Co.,  398 U.S.  144 (1970),  the  Court held  that a
          ________________


                                          34














          policeman's  presence  in a  segregated  lunch  counter might  be

          enough to infer a  conspiracy between the police officer  and the

          establishment, where the plaintiff  had both been refused service

          and  arrested.  In a notable decision the Seventh Circuit found a

          conspiracy  where the state  agents with  whom the  private actor

          conspired  were  not  actively  involved in  the  deprivation  of

          rights.   See Soldal v. County  of Cook, 942 F.2d  1073 (7th Cir.
                    ___ _________________________

          1991), rev'd  on other  grounds by 113  S.Ct. 538  (1992)(finding
                 _____  __ _____  _______ __

          that private owner and deputy sheriffs conspired to "get rid of a

          pesky tenant"  when sheriffs passively watched  an unlawful evic-

          tion).  It was not necessary that there be evidence of an express

          plan between Domina and Leporati to implicate section 1983.  

                    There was sufficient  evidence from which  a factfinder

          could conclude that Domina and Officer Leporati conspired togeth-

          er to  deprive Yvonne Alexis of  her due process right  not to be

          arrested  without probable  cause and  that such  deprivation was

          based on the color of Alexis' skin.

                    For the  reasons discussed  above, I would  reverse the

          judgment of the district court on the section 1983 claims brought

          against Donna Domina.














                                          35









